Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 1 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 2 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 3 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 4 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 5 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 6 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 7 of 8
Case 6:15-cv-06390-EAW-MWP Document 1 Filed 06/29/15 Page 8 of 8
